Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 1 of 17 PageID #: 1




 UNITED STATES DISTRICT COURT FOR THE
 EASTERN DISTRICT OF NEW YORK



 JESSICA PETERSON,
                                                                  COMPLAINT
                                 Plaintiff,
                                                                  ECF CASE
                  -against-
                                                                  18 CV ____
  NEW YORK CITY DEPARTMENT OF
  EDUCATION, and JOSEPH SCARMATO,                                 JURY TRIAL DEMANDED
  Principal of Tottenville High School,

                                 Defendants.




            Plaintiff JESSICA PETERSON, by her attorneys, GLASS KRAKOWER LLP, as and

for her Complaint against Defendants, respectfully alleges as follows:

                                 PRELIMINARY STATEMENT

       1.      Plaintiff brings this action against her employer New York City Department of

Education for employment discrimination based on disability arising under the Americans with

Disabilities Act ("ADA"), 42 U.S.C. § 12101 et seq.

       2.      Plaintiff also brings this action against all defendants pursuant to 42 U.S.C. Section

1983, the New York Civil Service Law Section 75-b (hereinafter “CLS § 75-b”), and for

intentional infliction of emotional distress, as a result of maltreatment and retaliatory actions taken

against her after she raised matters of a public concern while a teacher and union chapter leader

employed by Defendant.



                                                  1
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 2 of 17 PageID #: 2



       3.      Plaintiff seeks economic, compensatory damages and punitive damages to the

extent allowable by law, and other appropriate legal and equitable relief pursuant to federal and

state law.

                                            PARTIES

       4.      At all times hereinafter mentioned, Plaintiff was a teacher and a resident of the City

and State of New York, County of Staten Island.

       5.      At all times relevant herein, Plaintiff was a “public employee” of Defendants within

the meaning of New York State Civil Service Law § 75-b(1)(b).

       6.      At all times hereinafter mentioned, Defendant New York City Department of

Education (“NYCDOE”) was a “public employer” within the meaning of CLS § 75-b.

       7.      At all times hereinafter mentioned, Defendant Joseph Scarmato was the Principal

of Tottenville High School, a school within the NYCDOE in Staten Island, New York.

                                JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

§ 1331 as this matter involves federal questions.

       9.      This action’s venue properly lies in the United States District Court for the Eastern

District of New York, pursuant to 28 U.S.C. § 1391, because the primary actions took place in

schools within the Eastern District of New York.

       10.     This Court has the power to issue declaratory relief pursuant to 28 U.S.C. §§ 2201

and 2202.

       11.     This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

U.S.C. § 1367(a).




                                                 2
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 3 of 17 PageID #: 3



          12.   Plaintiff previously served a Written Verified Notice of Claim on Defendants

regarding his state law claims, which has not yet been adjusted.

          13.   Plaintiff received a right to sue letter from the EEOC dated December 21, 2017,

attached hereto as Exhibit A.

                                   STATEMENT OF FACTS

          A. Background


          14.   From 1995 until present, Defendant NYCDOE employed Plaintiff as a full-time

English Teacher.

          15.   Plaintiff worked at Tottenville High School in Staten Island, New York from 1995

to 1996, and then again from 2004 to present, until she was reassigned from her duties in June 23,

2017. Plaintiff worked at the High School of Telecommunication Arts and Technology from 1996

to 2004.

          16.   While at the High School for Telecommunication Arts and Technology, Plaintiff

suffered a line of duty injury (“LODI”) in 2002, when two students injured her during a conflict

resolution meeting. As a result of the injury, Plaintiff was diagnosed with a herniation in her neck

and mid thoracic; a bulging disc in her lower lumbar; soft tissue damage to both hips; and two

dislocated rib tips.

          17.   In May 2007, Plaintiff exacerbated the injuries she suffered during 2002 while in

school.

          18.   In June 2007, Plaintiff made an informal request with Catherine Burgos, her former

Assistant Principal, for reasonable accommodations due to her injuries. Specifically, she requested

exclusive use of a classroom so that she would not have to carry her belongings back and forth and

so as to avoid hall-passing. AP Burgos denied Plaintiff’s request.


                                                 3
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 4 of 17 PageID #: 4



       19.     As a result of AP Burgos’ denial, in or around August 2007, Plaintiff submitted a

formal request for reasonable medical accommodations.

       20.     Defendant NYCDOE granted Plaintiff reasonable accommodations in or around

September 2007, including but not limited to exclusive use of a classroom C-212A; secured locked

cabinets to avoid carrying teaching and/or testing materials and/or supplies; delivery of proctoring

materials for exams; to avoid hall-passing; and elevator access.

       B. Union Activity and Retaliation


       21.     On or about June 2, 2015, Plaintiff was elected United Federation of Teachers

(“UFT”) Chapter Leader for Tottenville High School.

       22.     Between September 2015 and the filing of this Complaint, Plaintiff has filed

approximately thirty (30) grievances on behalf of her union members.

       23.     Following her appointment as Chapter Leader, as per the UFT-NYCDOE

Collective Bargaining Agreement (“CBA”), Plaintiff was now mandated to have two free periods

per day to handle union business.

       24.     On or about June 11, 2015, Principal Scarmato and AP of Organization Clifford

Bloom announced that they would have Plaintiff vacate her room for two periods at the end of the

day since she became the union chapter leader and was not teaching classes in her room, thereby

revoking the accommodation for exclusive use of a classroom that Plaintiff had been granted.

Additionally, Plaintiff learned that the UFT office, which had always been on the first floor, was

now being moved to the basement, thereby causing additional difficulty for Plaintiff.

       25.     As a result of this revocation of her accommodation, Plaintiff was forced to relocate

to whatever empty classroom and/or office space was available and close-by at the time, resulting

in Plaintiff being forced to engage in hall-passing, putting her at substantial risk for re-injury.


                                                   4
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 5 of 17 PageID #: 5



       26.     On or about October 6, 2015, Plaintiff, as union Chapter Leader, filed a grievance

on behalf of the teachers at her school regarding a violation of their contractually-mandated

professional administrative period.

       27.     On or about October 7, 2015, Plaintiff, as union Chapter Leader, filed a grievance

regarding Principal Scarmato’s improper creation of an administrative position—the 9th grade

advisory position—at the school. Specifically, Plaintiff alleged that the creation of this position

was in contravention to the union contract because the administration failed to have a School-

Based Option (“SBO”) vote.

       28.     On or about November 13, 2015, Plaintiff filed a grievance against her

administration based on a new requirement by the administration that some teachers report to the

school on or around 7:00 am, thereby resulting in these teachers working before their collectively-

bargained work hours.

       29.     On July 1, 2016, Plaintiff learned that she won two major union arbitration victories

on behalf of her members relating to the aforementioned October 6 and 7, 2015 grievances.

       30.     The first victory related to Morning Duty, which was a direct violation of a single-

session school. Specifically, the principal was requiring staff members to be present prior to the

official start of the school day, in contravention of their official work hours.

       31.     The second victory was a ruling that Principal Scarmato created a 9th Grade

Advisor position in contravention of proper procedure.

       32.     On or about July 6, 2016, Plaintiff received a call from her UFT District and

Borough Representatives, Debra Penny and Donna Coppola, informing her that Principal Scarmato

contacted the NYCDOE Office of Labor Relations alleging professional misconduct against her

due to Plaintiff informing members of the aforementioned arbitration victories.



                                                  5
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 6 of 17 PageID #: 6



       C. Hostile Work Environment and Retaliation During the 2016-17 School Year


       33.     On or about September 7, 2016, Plaintiff was informed by AP Bloom that she had

to resubmit all of her medical documentation to NYCDOE Medical to continue receiving her

accommodations.

       34.     On or about September 9, 2016, Plaintiff requested a meeting with Principal

Scarmato, where she complained that her accommodations were not being met. In response,

Principal Scarmato informed Plaintiff that she had to resubmit her medical documentation for

review. During the meeting, Plaintiff explained that she was in a lot of pain due to her injuries and

was engaged in labored breathing, and requested that Principal Scarmato continue honoring her

accommodations while she attempted to gather all of the requested documentation. During this

meeting, Plaintiff informed Principal Scarmato that she would consider seeking legal

representation due to the improper revocation of her accommodations.

       35.     Notably, this was the first time that Plaintiff was asked to resubmit her medical

documentation—which constituted hundreds of pages—since 2007. Upon information and belief

of Plaintiff, neither AP Bloom nor Principal Scarmato had the authority to request that Plaintiff

resubmit her medical documentation.

       36.      On or about September 10, 2016, Principal Scarmato removed additional existing

accommodations previously granted to Plaintiff, referencing “school reorganization” as the

justification. Specifically, Plaintiff’s schedule was modified so that her teaching periods and prep

periods were no longer consecutive. The result was that she had to repeatedly vacate her classroom

throughout the day, rather than just the last two periods of the day. Furthermore, Plaintiff was now

forced to take her belongings and teaching materials with her during her prep periods. Notably,




                                                 6
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 7 of 17 PageID #: 7



approximately thirty (30) teachers had exclusive use of their own classrooms during the 2016-

2017 school year.

       37.      Following Plaintiff’s conversation with her principal on September 9, 2016, due to

having to carry her belongings and classroom materials, Plaintiff re-aggravated her lower lumbar

injury, in that it became a severe herniation.

       38.      In or around mid-September 2016, Plaintiff provided information to her union

regarding improper class sizes at her school, which resulted in her union filing a grievance.

       39.      On or about October 7, 2016, Plaintiff suffered another line of duty injury when a

student crashed into her left side while she was in the hallway. As a result, Plaintiff was not able

to support her own weight while walking and requested line of duty injury leave to recuperate and

care for herself, pursuant to her medical providers’ recommendation. However, Defendants denied

her leave request.

       40.      Plaintiff’s medical condition thereafter worsened and she required, sought, and

received medical treatment for aggravation of her existing medical conditions and new injuries,

including bulging and herniated discs, pain, tingling, and numbness in Plaintiff’s extremities.

       41.      In or around the week October 9-15, 2016, Plaintiff learned, after speaking with

Glenn Darien, a Supervisor in the Division of Human Resources, that her medical accommodations

were not currently under review nor was the case open, meaning that AP Bloom’s and Principal

Scarmato’s requests that Plaintiff resubmit her medical documentation were made without cause

or authority.

       42.      Despite learning this information from Mr. Darien, Plaintiff resubmitted her

medical documentation per her administration’s request and due to sustaining new injuries.




                                                 7
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 8 of 17 PageID #: 8



       43.        During this same week, Plaintiff reported the discrimination, harassment and

retaliation she was experiencing to several different administrative agencies, including the Office

of Special Investigations (“OSI”), the Special Commissioner of Investigation (“SCI”), the U.S.

Equal Employment Opportunity Commission (“EEOC”), the NYCDOE Office of Equal

Opportunity (“OEO”), the Office of the Superintendent, and her union.

       44.        Plaintiff repeatedly, throughout the 2016-17 school year, made written and verbal

requests for reinstatement of her previous accommodations and new accommodations for her new

injuries to Defendants.

       45.        On or about November 16, 2016, Plaintiff reported to DOE medical for a medical

examination pursuant to her accommodation requests. Notably, when she arrived, Plaintiff learned

that her examiner did not have any of the new medical documentation that Plaintiff had submitted,

and only had medical documentation up until 2007. Additionally, Plaintiff was shocked to learn

that the medical examiner was unfamiliar with the word “protrusion” and lacked a basic

understanding of Plaintiff’s medical records.

       46.        On or about December 12, 2016, Plaintiff received a letter from Defendants

informing her that all medical accommodations were denied and not medically warranted,

disregarding the recommendations of Plaintiff’s medical providers. No explanation was given for

these findings.

       47.        This same day, Plaintiff also received a disciplinary letter from her administration.

       48.        On or about February 10, 2017, Principal Scarmato initiated an improper, school-

based investigation (“SBI”) against Plaintiff, alleging that Plaintiff took pictures of students in

someone else’s classroom. This investigation resulted in a disciplinary letter to Plaintiff’s file




                                                    8
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 9 of 17 PageID #: 9



substantiating the allegation, despite an acknowledgment by Principal Scarmato that he had no

direct proof that Plaintiff engaged in the alleged actions.

       49.     Following the aforementioned SBI against Plaintiff, on or about February 17, 2017,

Plaintiff received a disciplinary letter from her administration.

       50.     On or about February 27, 2017, Plaintiff applied for intermittent Family Medical

Leave Act (“FMLA”) leave.

       51.     On or about February 28, 2017, based on a directive from her union and pursuant

her role as a union Chapter Leader, Plaintiff filed a complaint against her school administration

with SCI alleging attendance manipulation, grade changing and credit manipulation.

       52.     On or about March 22, 2017, Defendants denied Plaintiff’s request for FMLA

leave, stating that she had already used too many sick days for the year. Upon information and

belief of Plaintiff, other faculty members had been approved for FMLA leave despite having far

more absences in the school year than Plaintiff.

       53.     In or around March or April 2017, Defendants retaliated against Plaintiff for her

requests for accommodation by suddenly attacking her pedagogy and work performance.

Plaintiff’s administration accused Plaintiff of pedagogical deficiencies that were unsupported by

evidence, and when Plaintiff asked questions regarding her administrators’ purported concerns

with her pedagogy, she received no response.

       54.     On April 19, 2017, Plaintiff learned that the grievances she filed or had filed by the

union regarding improper class size and the improper professional administration assignment had

been settled, resulting in a massive payout by Defendant NYCDOE to union members. Notably,

Plaintiff received no monetary benefit from this as she was not directly impacted by the grievances.




                                                   9
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 10 of 17 PageID #: 10



       55.     As the 2016-2017 school year progressed, Plaintiff received orthopedic,

neurological, and psychiatric treatment for her injuries and for the mental anguish she was

suffering due to her treatment by Defendants. Plaintiff continues to receive all treatments.

       56.     Additionally, Plaintiff sustained new injuries on or about April 29, 2017, when she

sustained labrum shoulder tears to both shoulders when she fell down the stairs at her home due to

her knee giving out, due to the aforementioned aggravated injuries she sustained as a result of her

accommodations being revoked.

       57.     In or around May 2017, New York State issued Plaintiff a disability placard, further

evincing that Plaintiff was a qualified disabled individual under Federal and State law.

       58.     On June 23, 2017, Defendants served New York State Education Law 3020-a

( “3020-a”) Charges and Specifications against Plaintiff.

       D. Hostile Work Environment and Retaliation During the 2017-18 School Year


       59.     On or around September 6, 2017, Plaintiff requested via email to Principal

Scarmato that she be allowed to attend all school-related meetings. The principal denied the

request, claiming participation could be done via a cell phone, although Plaintiff has no ability to

remain on the reassigned premises at the end of each workday.

       60.     On September 14, 2017, Defendants served additional 3020-a Charges and

Specifications against Plaintiff.

       61.     At the beginning of the 2017-18 school year, Plaintiff was denied access to a

computer to do any union work. Additionally, her credentials for logging onto any computer were

revoked. As a result, Plaintiff was forced to carry her own laptop to school, causing additional

strain on her body.




                                                10
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 11 of 17 PageID #: 11



        62.     In or around November 2017, Plaintiff filed a complaint with the Public

Employment Relations Board (“PERB”) alleging retaliation for union activity.

        63.     On November 8, 2017, Plaintiff sent an email request to attend the School

Leadership Team Meeting (“SLT”) to her principal, as per the instructions of UFT Borough

Representative, Analia Gerard, and District Representative, Donna Coppola, requesting

permission to attend the upcoming November 21, 2017 meeting, as was her legal right.

        64.     On November 17, 2017, Lawrence Becker, human resources director for

Defendants, informed via email Howard Schoor, secretary for the UFT, that Plaintiff would not be

permitted to attend the SLT meetings as a member.

        65.     Mr. Becker’s email to Mr. Schoor acknowledges that SLT meetings are subject to

the Open Meetings Law and states that Plaintiff could physically attend a meeting but, due to her

reassignment, she could only observe the meetings as a member of the general public and was

prohibited from participating as Chapter Leader. Specifically, Mr. Becker wrote: “[S]he may

observe the proceedings taking place and may participate to the extent provided for non-Members

in the SLT Bylaws, but may not participate in the business of the meeting or otherwise.”

        66.     Plaintiff’s 3020-a hearing is ongoing and began on January 11, 2018.



                                  FIRST CLAIM FOR RELIEF
     (Against Defendant NYCDOE for Violation of ADA -- Denial of Accommodation)

        67.     Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if

fully set forth herein.

        68.     Plaintiff is a disabled person under the ADA.

        69.     Defendant    unreasonably      denied    and    removed     Plaintiff’s   reasonable

accommodations without any legitimate reason.

                                                 11
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 12 of 17 PageID #: 12



       70.     Indeed, Plaintiff has confirmed that although a reorganization of the school took

place, there are classrooms which are not being used and available to be assigned to Teachers for

instructional use.

       71.     Granting Plaintiff’s requests for reinstatement of her previously granted

accommodations, new accommodations and line of duty leave would not have caused Defendant

any hardship, much less undue hardship.

       72.     The acts above described indicate that Defendant has acted in an intentional

discriminatory manner against her because of Plaintiff’s disability.

       73.     The acts above described indicate that Defendant retaliated against Plaintiff for

exercising her rights.

       74.     Defendant willfully and intentionally discriminated and retaliated against Plaintiff

based on disability.

       75.     Plaintiff suffered damages as a proximate result of the foregoing, including physical

injury and emotional distress, all of which continue to date. Plaintiff also has suffered, inter alia,

depression, anxiety, insomnia, loss of appetite.

       76.     Plaintiff is entitled to full relief and has not filed any other civil or administrative

action alleging an unlawful discriminatory practice with respect to the allegations of discrimination

which are the subject of this Complaint.

       77.     As a direct and proximate result of Defendant’s discrimination, Defendant’s

discrimination has caused, continues to cause, and will cause Plaintiff to suffer damages in an

amount to be determined at trial.




                                                   12
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 13 of 17 PageID #: 13



                                 SECOND CAUSE OF ACTION

               (Against Defendant NYCDOE for Violation of ADA – Retaliation)

        78.     Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if

fully set forth herein.

        79.     Defendant retaliated against Plaintiff after she made reasonable requests for

accommodation due to her disability. Specifically, Defendant initiated and substantiated

investigations into Plaintiff’s conduct; issued Plaintiff unwarranted letters to file; and instituted a

3020-a hearing against Plaintiff.

        80.     As a direct and proximate result of Defendant’s retaliation, Defendant’s

discrimination has caused, continues to cause, and will cause Plaintiff to suffer damages in an

amount to be determined at trial.



                                    THIRD CAUSE OF ACTION

   (Against all Defendants for Violation of 42 U.S.C. Section 1983 – Retaliation Against
                       Plaintiff for Exercising Freedom of Speech)

        81.     Plaintiff repeats and re-alleges the allegations set forth in the preceding paragraphs,

as if fully set forth herein.

        82.     While acting under color of State Law, Defendants violated Plaintiff’s First

Amendment rights by retaliating against her for exercising her freedom of speech as a citizen with

regard to matters of public concern.

        83.     Plaintiff, as a union Chapter Leader, filed numerous grievances on behalf of her

union members, some of which led to arbitration and settlements with Defendants.




                                                  13
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 14 of 17 PageID #: 14



        84.     Defendants retaliated against Plaintiff for this protected speech. Specifically,

Defendants initiated and substantiated investigations into Plaintiff’s conduct; issued Plaintiff

unwarranted letters to file; and instituted a Section 3020-a disciplinary hearing against Plaintiff.

        85.     As a direct and proximate result of Defendants’ retaliation, Defendants’

discrimination has caused, continues to cause, and will cause Plaintiff to suffer damages in an

amount to be determined at trial.



                                FOURTH CAUSE OF ACTION
        (Against all Defendants for Violation of New York State Human Rights Law)

        86.     Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if

fully set forth herein.

        87.     Based upon the foregoing, Defendants deliberately, intentionally and willfully

violated the New York State Human Rights Law by denying Plaintiff reasonable accommodation

for her disabililties and by retaliating against Plaintiff for making requests for reasonable

accommodation, in addition to other forms of discrimination under the NYSHRL.

        88.     As a result, Plaintiff suffered damages in an amount to be determined at trial.



                                    FIFTH CAUSE OF ACTION
        (Against all Defendants for Violation of New York City Human Rights Law)

        89.     Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if

fully set forth herein.

        90.     Based upon the foregoing, Defendants deliberately, intentionally and willfully

violated the New York City Human Rights Law by denying Plaintiff reasonable accommodation




                                                 14
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 15 of 17 PageID #: 15



and by retaliating against Plaintiff for making requests for reasonable accommodation, in addition

to other forms of discrimination under the NYCHRL.

        91.      As a result, Plaintiff suffered damages in an amount to be determined at trial.



                                    SIXTH CAUSE OF ACTION

              (Against all Defendants for Violation of NYS CSL § 75-b – Retaliation)

        92.      Plaintiff repeats and re-alleges the allegations set forth in the preceding paragraphs,

as if fully set forth herein.

        93.      Plaintiff reported violations about federal, city and state law violations by the

school administration, such as attendance manipulation, grade changing and credit manipulation,

and thereby engaged in a protected activity as defined in New York Civil Service Law § 75-b(2)(a).

        94.       Defendants had notice that Plaintiff participated in such protected activities.

        95.      Defendants retaliated against Plaintiff by engaging in adverse “personnel actions”

as defined by New York Civil Service Law § 75-b(1)(d).

        96.      Specifically, Defendants initiated and substantiated investigations into Plaintiff’s

conduct; issued Plaintiff unwarranted letters to file; and instituted a Section 3020-a disciplinary

hearing against Plaintiff.

        97.      As a direct and proximate result of Defendants’ retaliation, Defendants’

discrimination has caused, continues to cause, and will cause Plaintiff to suffer damages in an

amount to be determined at trial.




                                                   15
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 16 of 17 PageID #: 16



                                  SEVENTH CAUSE OF ACTION

              (Against all Defendants for Intentional Infliction of Emotional Distress)

        98.       Plaintiff repeats and re-alleges the allegations set forth in the preceding paragraphs,

as if fully set forth herein.

        99.       Defendants engaged in extreme and outrageous conduct with intent to cause severe

emotional distress.

        100.      Defendants’ actions led to Plaintiff’s injuries and exacerbation of injuries.

        101.      Plaintiff has suffered severe emotional distress because of her injuries and

exacerbation of injuries.

        102.      As a direct and proximal result of Defendants’ actions, Plaintiff has suffered

damages in an amount to be determined at trial.



                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for declaratory relief and damages as follows:

        A.        A declaratory judgment that Defendants are in violation of the ADA;

        B.        A declaratory judgment that Defendants are in violation of the New York State

                  Human Rights Law;

        C.        A declaratory judgment that Defendants are in violation of the New York City

                  Human Rights Law;

        D.        A declaratory judgment that Defendants are in violation of 42 USC Section 1983;

        E.        A declaratory judgment that Defendants are in violation of NYS CSL Section 75-

                  b;




                                                    16
Case 1:18-cv-01515-ILG-RER Document 1 Filed 03/12/18 Page 17 of 17 PageID #: 17
